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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                        Plaintiff,               )
                                                 )                 8:94CR94
                vs.                              )
                                                 )                     ORDER
COREY L. SHELTON,                                )
                                                 )
                        Defendant.               )

        Defendant Corey L. Shelton (Shelton) appeared before the court on December 8, 2006, on a
Petition for Warrant or Summons for Offender Under Supervision (Report) (Filing No. 517). Shelton was
represented by Assistant Federal Public Defender Michael F. Maloney and the United States was
represented by Assistant U.S. Attorney Jan W. Sharp. Through his counsel, Shelton requested a
probable cause hearing on the Report pursuant to Fed. R. Crim. P. 32.1(a)(1). (Filing No. 521) The
hearing was scheduled for December 13, 2006. Shelton was detained in the custody of the U.S. Marshal
pending the probable cause hearing.
        Prior to the hearing on December 13, 2006, an Amended Petition for Warrant or Summons for
Offender Under Supervision (Amended Report) was filed (Filing No. 522). Shelton again appeared before
the court on December 13, 2006. Shelton was represented by Assistant Federal Public Defender Michael
F. Maloney and the United States was represented by Assistant U.S. Attorney Jan W. Sharp. Shelton was
advised of the allegation of the Amended Report and reiterated his request for a probable cause hearing.
The probable cause hearing commenced forthwith.
        The court heard the testimony of Senior U.S. Probation Officer Michael W. Tolley. Officer Tolley
testified to the reports he received from the Omaha Police Department (OPD) and Ms. Jasmine Wheeler.
While Ms. Wheeler now wished to withdraw her complaint, it is clear from the reports and the observation
of Ms. Wheeler by the OPD officers at the time of the alleged assault, that, in fact, Ms. Wheeler had been
assaulted and harassed by Shelton. Further, Officer Tolley testified to Shelton’s failure to report as
directed and to Shelton’s positive drug tests, one such test for marijuana use being admitted to by
Shelton. I find that there is probable cause to believe the alleged violations of supervised release as set
forth in the Amended Report have occurred. I find Shelton should be held to answer for a final
dispositional hearing before Senior Judge Lyle E. Strom.
        The government moved for detention. Through counsel, Shelton requested release to his brother
in Omaha pending a dispositional hearing before Senior Judge Strom. Given the nature of the allegations
in the Amended Report, I find Shelton has failed to carry his burden under 18 U.S.C. § 3143 to establish
by clear and convincing evidence that he is neither a flight risk nor a danger to the community.
Accordingly, Shelton shall be detained pending the dispositional hearing before Senior Judge Strom.
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        IT IS ORDERED:
        1.      A final dispositional hearing will be held before Senior Judge Lyle E. Strom in Courtroom
No. 5, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha, Nebraska, at 9:00
a.m. on December 19, 2006. Defendant must be present in person.
        2       Defendant Corey Shelton is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
        3.      Defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
        4.      Upon order of a United States court or upon request of an attorney for the government,
the person in charge of the corrections facility shall deliver defendant to the United States Marshal for the
purpose of an appearance in connection with a court proceeding.
        DATED this 13th day of December, 2006.

                                                          BY THE COURT:
                                                          s/ Thomas D. Thalken
                                                          United States Magistrate Judge
